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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


PLANNED PARENTHOOD OF GREATER NEW
YORK, et al.

                        Plaintiffs,

        v.                                                            No. 25-cv-1334 (TJK)

U.S. DEPARTMENT OF HEALTH AND HUMAN
SERVICES, et al.

                        Defendants.



                               JOINT SCHEDULING PROPOSAL

       Pursuant to the Court’s Order of May 13, 2025, the parties jointly submit the below

proposed briefing schedule for Plaintiffs’ motion for preliminary injunction (ECF 8).

       1.        On May 1, 2025, Plaintiffs brought this action seeking declaratory and injunctive

relief related to alleged new Executive Order alignment requirements for fiscal year 2025 non-

competing continuation applications for the Teen Pregnancy Prevention Program. ECF 1. On May

12, 2025, Plaintiffs filed a motion for preliminary injunction. ECF 8.

       2.        Pursuant to the Court’s May 13, 2025 Order, the parties have met and conferred,

and respectfully propose the following briefing schedule for the motion for preliminary injunction:

             •   Defendants shall file their response to Plaintiffs’ motion by May 28, 2025.

             •   Plaintiffs shall file their reply by June 3, 2025.

             •   The parties will be available for a hearing on the motion on June 4, 2025; June 10,
                 2025; or whatever following date the Court shall order.

             •   Defendants’ obligation to answer or otherwise respond to Plaintiffs’ complaint will
                 be stayed pending disposition of Plaintiffs’ motion for preliminary injunction.
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       3.      Because the current Teen Pregnancy Prevention Program funding cycle ends June

30, 2025, Plaintiffs respectfully request a ruling on their motion for preliminary injunction by June

15, 2025, to allow sufficient time for the agency to process revised non-competing continuation

applications before the end of June. Defendants disagree that a ruling is necessary by June 15 but

enter into this agreement to facilitate orderly resolution of Plaintiffs’ motion. In addition,

undersigned counsel for Defendants will be out of the office and traveling internationally from

June 5 through June 9.

       WHEREFORE, the parties respectfully request that the Court enter the above-outlined

briefing schedule and stay Defendants’ obligation to answer the complaint pending disposition of

the motion for preliminary injunction.



 Dated: May 15, 2025                            Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 15, 2025, the foregoing joint scheduling proposal was served

via ECF to all counsel of record.


                                                         /s/ Andrew Tutt
                                                         Andrew Tutt

                                                         Counsel for Plaintiffs




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